      Case: 1:20-cv-01426 Document #: 1 Filed: 02/27/20 Page 1 of 5 PageID #:1




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

Midwest Operating Engineers Welfare          )
Fund, Midwest Operating Engineers            )
Pension Trust Fund, Operating Engineers      )
Local 150 Apprenticeship Fund, Midwest       )
Operating Engineers Retirement               )
Enhancement Fund, Local 150 IUOE             )      Case No.
Vacation Savings Plan, Construction          )
Industry Research and Service Trust Fund,    )      Judge:
                                             )      Magistrate Judge:
                Plaintiffs,                  )
                                             )
        v.                                   )
                                             )
Elite Piering, LLC, an Illinois corporation, )
                                             )
                Defendant.                   )

                                         COMPLAINT

       Plaintiffs Midwest Operating Engineers Welfare Fund, Midwest Operating Engineers

Pension Trust Fund, Operating Engineers Local 150 Apprenticeship Fund, Midwest Operating

Engineers Retirement Enhancement Fund, Local 150 IUOE Vacation Savings Plan (collectively

“the Funds”), and Construction Industry Research and Service Trust Fund (“CRF”) hereby file suit

against Defendant Elite Piering, LLC (“Elite Piering”).

                                     COUNT I
                           FUNDS SUIT FOR AN AUDIT AND
                       ANY DELINQUENT AMOUNTS DISCLOSED

       1.      This Court has jurisdiction over this action pursuant to Employee Retirement

Income Security Act of 1974, as amended (“ERISA”), 29 U.S.C. §§ 1132, 1145; and pursuant to

Section 301 of the Labor Management Relations Act (“LMRA”), 29 U.S.C. § 185; and 28 U.S.C.

§ 1331.
      Case: 1:20-cv-01426 Document #: 1 Filed: 02/27/20 Page 2 of 5 PageID #:2




       2.     Venue is proper in this Court pursuant to Section 502(e)(2) of ERISA, 29 U.S.C.

§ 1132(e)(2), because the Funds are located and administered in Cook County, Illinois.

       3.     International Union of Operating Engineers, Local 150, AFL-CIO (“the Union”),

is an “employee organization” under ERISA, 29 U.S.C. § 1002(4); and a “labor organization”

under the LMRA, 29 U.S.C. § 152(5).

       4.     Elite Piering is an “employer” within the meaning of ERISA, 29 U.S.C. § 1002(5),

and the LMRA, 29 U.S.C. § 152(2).

       5.     Elite Piering and the Union are parties to the following collective bargaining

agreements (see Exhibit A): Associated Contractors of the Quad Cities (Heavy & Highway

Agreement (pursuant to Memorandum of Agreement dated April 21, 2011 (attached as Exhibit

B)); Mid-America Regional Bargaining Association (MARBA) Illinois Building Agreement

(pursuant to Memorandum of Agreement dated August 20, 2008 (Ex. B)); Northern Illinois

Building Contractors Association (Rockford Building Agreement) (pursuant to Memorandum of

Agreement dated August 20, 2008 (Ex. B)); Excavators, Inc. (Heavy & Highway & Underground

Agreement) (pursuant to Memorandum of Agreement dated August 20, 2008 (Ex. B));

Northwestern Illinois Contractors Association (Heavy & Highway & Underground Agreement)

(pursuant to Memorandum of Agreement dated August 208, 2008 (Ex. B).

       6.     The CBA and the Agreements and Declarations of Trust incorporated therein

require Elite Piering to make fringe benefit contributions to the Funds. The Funds are “employee

benefit plans” and/or “plans” within the meaning of ERISA, 29 U.S.C. § 1002 (3).

       7.     The CBA and Trust Agreements additionally require Elite Piering to:

              a. submit a monthly report stating the names and number of hours worked
                 by every person on whose behalf contributions are required and
                 accompany these reports with payment of contributions based on an
                 hourly rate identified in the CBA;



                                               2
      Case: 1:20-cv-01426 Document #: 1 Filed: 02/27/20 Page 3 of 5 PageID #:3




               b. compensate the Funds for the additional administrative costs and
                  burdens imposed by its delinquency through payment of liquidated
                  damages in the amount of ten percent of untimely contributions, or
                  twenty percent of such contributions should the Funds be required to
                  file suit;

               c. pay interest to compensate the Funds for the loss of investment income;

               d. make its payroll books and records available to the Funds for the
                  purpose of an audit to verify the accuracy of past reporting, and pay any
                  and all costs incurred by the Funds in the audit where it is determined
                  that Elite Piering was delinquent in the reporting or submission of
                  contributions;

               e. pay the Funds’ reasonable attorneys’ fees and costs incurred in the
                  prosecution of any action to require Elite Piering to submit its payroll
                  books and records for auditing or the recovery of delinquent
                  contributions; and,

               f. furnish to the Funds a bond in an amount acceptable to the Funds.

       8.      Elite Piering is delinquent and has breached its obligations to the Funds and its

obligations under the Plans by failing and refusing to submit all of its contribution reports and its

refusal to complete an audit as requested by the Funds.

       9.      The Funds have demanded that Elite Piering perform its obligations stated above,

but Elite Piering has failed and refused to so perform (Exhibit C).

       WHEREFORE, the Funds respectfully request that:

               a. an account be taken as to all employees of Elite Piering covered by the
                  collective bargaining agreement or agreements as to wages received and
                  hours worked by such employees to determine amounts required to be
                  paid to the Funds, covering the period August 1, 2017, to the present;

               b. Elite Piering be ordered to pay any amounts determined to be due
                  pursuant to such audit;

               c. Elite Piering be ordered to submit all delinquent monthly contribution
                  reports to the Funds stating the information required to be stated
                  thereon, and to continue submitting such reports while this action is
                  pending;



                                                 3
       Case: 1:20-cv-01426 Document #: 1 Filed: 02/27/20 Page 4 of 5 PageID #:4




                d. judgment be entered in favor of the Funds and against Elite Piering for
                   all costs of auditing Elite Piering’s records, and the Funds’ reasonable
                   attorneys’ fees and court costs necessarily incurred in this action as
                   specified herein, or as subsequently determined all as provided for in
                   the Plans and in ERISA;

                e. Elite Piering be permanently enjoined to perform specifically its
                   obligations to the Funds and, in particular, to continue submitting the
                   required reports and contributions due thereon to the Funds in a timely
                   fashion as required by the Plans and by ERISA; and,

                f. the Funds have such further relief as may be deemed just and equitable
                   by the Court, all at Elite Piering’s cost.

                                     COUNT II
                              CRF SUIT FOR AUDIT AND
                        ANY DELINQUENT AMOUNTS DISCLOSED

        1.      This Court has jurisdiction over this action pursuant to Section 301 of the Labor

Management Relations Act (“LMRA”), 29 U.S.C. § 185, and 28 U.S.C. § 1331.

        2.      Venue is proper in this Court pursuant to 29 U.S.C. § 185(a) because this Court has

jurisdiction over the parties and each party is situated within this judicial district.

        3.      CRF realleges and incorporates herein by reference paragraphs 3 through 7 of

Count I as paragraphs 3 through 7 and as if fully stated herein.

        8.      CRF is a “labor management committee” as that term is defined under Section

302(c)(9) of the LMRA, 29 U.S.C. § 186 (c)(9).

        9.      The CBA places similar obligations on Elite Piering with respect to CRF as it does

the Funds. Elite Piering is delinquent and has breached its obligations to the CRF by failing and

refusing to submit all of its contribution reports and by its refusal to complete an audit as requested.

        10.     CRF has demanded that Elite Piering perform its obligations stated above, but Elite

Piering has failed and refused to so perform (Exhibit C).




                                                   4
      Case: 1:20-cv-01426 Document #: 1 Filed: 02/27/20 Page 5 of 5 PageID #:5




      WHEREFORE, CRF respectfully requests that:

             a. an account be taken as to all employees of Elite Piering covered by the
                collective bargaining agreement or agreements as to wages received and
                hours worked by such employees to determine amounts required to be
                paid to CRF, covering the period August 1, 2017, to the present;

             b. Elite Piering be ordered to pay any amounts determined to be due
                pursuant to such audit;

             c. Elite Piering be ordered to submit all delinquent monthly contribution
                reports to the CRF stating the information required to be stated thereon
                and to continue submitting such reports while this action is pending;

             d. judgment be entered in favor of CRF and against Elite Piering for all
                costs of auditing Elite Piering’s records and the CRF’s reasonable
                attorneys’ fees and court costs necessarily incurred in this action as
                specified herein, or as subsequently determined all as provided for in
                the Plans and in ERISA;

             e. Elite Piering be permanently enjoined to perform specifically its
                obligations to the CRF and in particular, to continue submitting the
                required reports and contributions due thereon to CRF in a timely
                fashion as required by the plans and by ERISA; and,

             f. CRF receive such further relief as may be deemed just and equitable by
                the Court, all at Elite Piering’s cost.

Dated: February 27, 2020                  Respectfully submitted,

                                          By: /s/ Charles R. Kiser
                                              One of the Attorneys for Plaintiffs

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